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                    BEFORE THE UNITED STATES
                 JUDICIAL PANEL ON MULTIDISTRICT
                            LITIGATION


                                    )   MDL No. 3076
IN RE: FTX CRYPTOCURRENCY
                                    )
EXCHANGE COLLAPSE LITIGATION
                                    )




     PLAINTIFF MARK GIRSHOVICH’S INTERESTED PARTY RESPONSE
            IN OPPOSITION TO THE MOTION TO TRANSFER
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         Plaintiff Mark Girshovich (“Girshovich”), plaintiff in the consolidated action styled In re

FTX Investors Sequoia Capital Litigation, No. 4:23-cv-00655-JSC (N.D. Cal.) (“Sequoia

Capital”), respectfully files his Interested Party Response in Opposition to Petitioners Edwin

Garrison, Gregg Podalsky, Skyler Lindeen, Alexander Chernyavsky, Sunil Kavuri, Gary Gallant,

and David Nicol’s Motion for Transfer of Related Actions to the Southern District of Florida

(“Motion to Transfer”) (Dkt. No. 1).1 Girshovich files this Interested Party Response on behalf of

himself, and wholly adopts the arguments contained in Plaintiff Patrick J. Rabbitte’s Interested

Party Response in Opposition, filed on April 24, 2023 (the “Opposition”). For the reasons set forth

in the Opposition, Girshovich maintains that Sequoia Capital does not have “significant overlap

in the central factual issues, parties, proposed classes and claims” to those in the FTX Cases,

defined below. In re Am. Med. Collection Agency, Inc., Customer Data Sec. Breach Litig., 410 F.

Supp. 3d 1350, 1353 (J.P.M.L. 2019). See also In re: ZF-TRW Airbag Control Units Products

Liability Litigation, 410 F. Supp. 3d. 1357, 1360 (J.P.M.L. 2019).

         For the reasons set forth in the Opposition, Girshovich respectfully requests this Court to

deny the Motion to Transfer and adopts the further relief set forth in the Opposition. Specifically,

Girshovich asks that the Judicial Panel on Multidistrict Litigation (the “Panel”) decline to

centralize Sequoia Capital and the “related cases” identified in the Opposition2 (the “FTX Cases”)

into an MDL. In the event that the Panel does centralize, Girshovich maintains, and asks the Court


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  Girshovich’s case, originally styled Girshovich v. Sequoia Capital Operations, LLC, No. 3:23-
cv-00945-JSC (N.D. Cal.), was identified as related to this Multidistrict Litigation (“MDL”) on
March 10, 2023 (Dkt. No. 51). The Panel closed briefing on March 20, 2023 (Dkt. No. 74) but
noted that “[p]arties in any potential tag-along action may file an Interested Party response . . . no
later than the Thursday prior to the hearing session at which the motion for transfer is to be heard
by the Panel.” On March 24, 2023, this action was consolidated with Rabbitte v. Sequoia Capital
Operations, LLC, No. 3:23-cv-00655-JSC (N.D. Cal.), and re-captioned by court order as the
consolidated action Sequoia Capital.
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    See Opposition at 1 (Dkt. No. 91).

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to hold, that Sequoia Capital should not be included in any transfer order. If the Court does

centralize Sequoia Capital and any of the FTX Cases, Girshovich respectfully requests that those

cases be centralized in the Northern District of California before the Honorable Jaqueline Scott

Corley.



 Dated: April 26, 2023                           Respectfully Submitted,

                                                 By: /s/ John C. Herman
                                                 John C. Herman

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                                                 (Case No. 3:23-cv-00945)




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